                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                               DOCKET NO. 3:00-cr-137-FDW


 UNITED STATES OF AMERICA,                     )
                                               )
                  v                            )
                                               )
 JOSEPH BERNARD TATE                           )                   ORDER
                                               )
                                               )
                Defendant.                     )


       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 312) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2). Defendant’s motion is DENIED.

As stated in Orders #299 and #311, no reduction was recommended. The sentence in this case was

based on the cross-reference to murder guideline (§2A1.1) and not based on the drug amounts

involved. Amendment 706 is not applicable and no reduction in sentence is warranted as there is

no change in the guideline range.

       IT IS SO ORDERED.

                                              Signed: May 10, 2010




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